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 5   Attorney for Defendant
     POSHMARK, INC.
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
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11   TEXKHAN, INC., a California                Case No. 2:19-cv-02850-DMG-JC
     Corporation, individually and doing
12   business as HYUP SUNG T.R.D.,
                                                JOINT STIPULATION TO EXTEND
13                       Plaintiff,             TIME TO RESPOND TO INITIAL
                                                COMPLAINT BY NOT MORE
14   vs.                                        THAN 30 DAYS (L.R. 8-3)
15   EN CREME, an unknown business              Complaint filed: April 12, 2019
     entity; POSHMARK, INC., a Delaware         Current response date: May 13, 2019
16   Corporation, doing business as             New Response Date: June 12, 2019
     POSHMARK; PROMGIRL, LLC, a
17   New York Limited Liability Company,
     doing business as THISGIRL; and
18   DOES 1 through 50,
19                       Defendants.
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 1           Defendant Poshmark, Inc. (“Defendant”) and Plaintiff Texkhan, Inc.
 2   (“Plaintiff”) through their respective counsel of record, hereby stipulate as follows:
 3           WHEREAS, Plaintiff filed its Complaint in the United States District Court
 4   Central District of California on April 12, 2019;
 5           WHEREAS, the current deadline for Defendant’s response to the Complaint
 6   is May 13, 2019;
 7           WHEREAS, counsel for Defendant Poshmark, Inc. requested—and counsel
 8   for Plaintiff agreed to—a brief 30-day extension of the deadline to file a response to
 9   the Complaint, up to and including June 12, 2019;
10           WHEREAS, the requested extension will not alter the date of any Court
11   ordered event or deadline;
12           WHEREAS, Local Rule 8-3 permits the parties to file a stipulation to extend
13   the response deadline for no more than 30 days from the date the response initially
14   would have been due without Court approval;
15           WHEREAS, no party will be prejudiced by the stipulated-to extension;
16           WHEREAS, the Plaintiff and Defendant agree that justification and good
17   cause exist to extend the date by which Defendant shall file a response to the
18   Complaint;
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 1           NOW THEREFORE, IT IS THEREBY STIPULATED AND AGREED,
 2   between Plaintiff, by its undersigned counsel and Defendant, by its undersigned
 3   counsel, that Defendant shall have up to and including June 12, 2019 to respond to
 4   the Complaint in this action.
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 6   Dated:              May 13, 2019            Respectfully submitted,
 7
                                                 By: /s/ Natasha E. Daughtrey
 8                                                   Natasha E. Daughtrey (SBN
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13
                                                 Attorney for Defendant
14                                               Poshmark, Inc.
15
16
                                                 By: /s/ Hyunsuk Albert Chang (with
17                                               permission)
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24                                               Attorneys for Plaintiff
                                                 Texkhan, Inc.
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